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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                      *
                                              *
                                              *
VS.                                           *             NO: 4:09CR00086-12 SWW
                                              *
BRUCE LISTMAN                                 *
                                              *


                                             ORDER

       Before the Court is Defendant Bruce Listman’s motion to suppress evidence and motion

in limine (docket entry #153). The United States has responded (docket entry #160), and the

matter is ready for decision. After careful consideration, and for reasons that follow, the motion

to suppress will be denied, and the motion in limine will be denied without prejudice.

       Defendant Listman moves to suppress evidence derived from the search of a vehicle in

which he was a passenger. In support of his motion, Listman contends that officers lacked

reasonable suspicion to stop the vehicle and lacked probable cause to search the vehicle.

Further, Listman contends that any consent to search given by the driver was involuntary. In its

response, the Government argues that Listman lacks standing to contest the search of a vehicle in

which he was a mere passenger.

       Listman alleges no specific facts to support his claim that officers lacked reasonable

suspicion to stop the vehicle in which he was a passenger, but even assuming that Listman’s

detention violated his Fourth Amendment rights, an illegal detention does not require the

suppression of evidence discovered pursuant to valid consent to search. See United States v.

Green, 275 F.3d 694, 700 (8th Cir. 2001). Although Listman alleges that any consent given by

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the driver of the vehicle was not voluntary, he alleges no facts indicating that he personally had

an expectation of privacy in the vehicle searched and therefore has standing to challenge the

search.1 See Barragan, 379 F.3d at 530(defendant without an ownership interest in a vehicle had

no standing to challenge the voluntariness of driver’s consent to search). Accordingly, the Court

finds that Listman’s Fourth Amendment challenge fails as a matter of law. Because Listman

raises no issues of fact in support of his motion, only conclusory legal objections, an evidentiary

hearing is not required. See U.S. v. Losing, 539 F.2d 1174, 1177 (8th Cir. 1976)(“Evidentiary

hearings need not be set as a matter of course, but if the moving papers are sufficiently definite,

specific, detailed, and nonconjectural to enable the court to conclude that contested issues of fact

going to the validity of the search are in question, an evidentiary hearing is required.”).

       IT IS THEREFORE ORDERED that Defendant Bruce Listman’s motoin to suppress

(docket entry #153) is DENIED, and his motion in limine (docket entry #153) is DENIED

WITHOUT PREJUDICE.

       IT IS THEREFORE ORDERED THIS 12TH                DAY OF JANUARY, 2010.

                                                 /s/Susan Webber Wright
                                       UNITED STATES DISTRICT JUDGE


       1
          Fourth Amendment rights are personal and may not be asserted vicariously. See Rakas
v. Illinois, 439 U.S. 128, 133-34, 99 S.Ct. 421 (1978). “An individual asserting Fourth
Amendment rights ‘must demonstrate that he personally has an expectation of privacy in the
place searched, and that his expectation is reasonable [.]’” United States v. Barragan, 379 F.3d
524, 529-530 (8th Cir. 2004)(quoting Minnesota v. Carter, 525 U.S. 83, 88, 119 S.Ct. 469 (1998).
A defendant seeking to suppress evidence for alleged violations of the Fourth Amendment must
demonstrate: (1) a subjective expectation of privacy in the place searched; and (2) that this
expectation is one that society is prepared to recognize as objectively reasonable. U.S. v. Green,
275 F.3d 694, 699 (8th Cir.2001). “‘If a defendant fails to prove a sufficiently close connection
to the relevant places or objects searched he has no standing to claim that they were searched or
seized illegally.’” Barragan, 379 F.3d at 529-530(quoting United States v. Gomez, 16 F.3d 254,
256 (8th Cir.1994).

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